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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
       Plaintiff,                                )
                                                 )
 v.                                              )     Case No. 4:17CR00234 RLW
                                                 )
 ZAINAL SALEH,                                   )
                                                 )
       Defendant.                                )

                          AMENDED MOTION OF THE UNITED STATES
                          FOR PRELIMINARY ORDER OF FORFEITURE

       COMES NOW the United States of America, by and through its attorneys, Sayler A.

Fleming, United States Attorney for the Eastern District of Missouri, and Kyle T. Bateman,

Assistant United States Attorney for said District, and moves this Court to issue a Preliminary

Order of Forfeiture in the above-captioned case. In support thereof, the United States sets forth

the following:

       1.        On April 12, 2022, Defendant Zainal Saleh pled guilty to Conspiracy to Distribute

Controlled Substances and Analogues, in violation of Title 21, United States Code, Sections

841(a)(1) and 846, and also agreed, in writing in the Guilty Plea Agreement, to the forfeiture of

certain property under the applicable forfeiture authorities, which includes any property

constituting or derived from any proceeds obtained, directly or indirectly, as a result of said

offense; and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of said offense, pursuant to Title 21, United States Code, Section 853.
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       2.         Defendant further agreed to the forfeiture of the following specific property (the

ASubject Property@):

            (a)       Approximately $11,677.00 US Currency;

            (b)       Approximately $68,376.00 US Currency;

            (c)       Approximately $50,200.00 US Currency;

            (d)       Approximately $522.00 US Currency;

            (e)       Approximately $2,110.00 US Currency;

            (f)       Approximately $90.00 U.S. Currency;

            (g)       Approximately $880.00 U.S. Currency;

            (h)       Approximately $114,580.00 U.S. Currency;

            (i)       Approximately $13,144.86 U.S. Currency;

            (j)       Approximately $31,989.42 U.S. Currency;

            (k)       Approximately $62,640.00 U.S. Currency;

            (l)       Approximately $38,631.00 U.S. Currency;

            (m)       Approximately $65,039.07 U.S. Currency;

            (n)       Approximately $29,426.00 U.S. Currency;

            (o)       Approximately $9,360.00 U.S. Currency;

            (p)       Approximately $1,800.00 U.S. Currency;

            (q)       Approximately $2,200.00 U.S. Currency;

            (r)       Approximately $12,980.29 U.S. Currency;

            (s)       Approximately $3,505.00 U.S. Currency;

            (t)       Approximately $6,585.00 U.S. Currency;
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         (u)    Approximately $5,840.00 U.S. Currency;

         (v)    Approximately $1,130.00 U.S. Currency;

         (w)    Approximately $400.00 U.S. Currency;

         (x)    Approximately $60.00 U.S. Currency;

         (y)    Approximately 33 Money Gram Orders, equal to the amount of $5,170.15 U.S.

                Currency;

         (z)    Approximately $111,136.99 in funds from First Bank account #...2005;

         (aa)   Approximately $76,862.95 in funds from First Bank account #...2254;

         (bb)   Approximately $3,713.35 in funds from Bank of America account #...3953;

         (cc)   Approximately $4,992.24 in funds from Bank of America account #...5251;

         (dd)   Approximately $29,878.22 in funds from Bank of America account #...0908;

         (ee)   Approximately $3,530.57 in funds from Bank of America account #...0238;

         (ff)   Approximately $10,175.01 in funds from Bank of America account #...4066;

         (gg)   Approximately $18,771.70 in funds from Bank of America account #...4717;

         (hh)   Approximately $8,889.23 U.S. Currency from Bank of America acct#...4901;

         (ii)   Approximately $4,620.64 U.S. Currency from Bank of America acct#...5685;

         (jj)   Approximately $10,021.45 U.S. Currency from Bank of America acct#...7651;

         (kk)   Approximately $15,286.26 U.S. Currency from Bank of America acct#...0555;

         (ll)   Approximately $7,065.48 U.S. Currency from Bank of America acct#...5060;

         (mm)   Approximately $13,804.07 U.S. Currency from Bank of America acct#...0070;

         (nn)   Approximately $243,317.14 U.S. Currency from First Bank acct#...2199;

         (oo)   Approximately $289,547.54 U.S. Currency from First Bank acct#...1268;
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         (pp)           Approximately $1,842.69 U.S. Currency from First Bank acct#...2306;

         (qq)           Approximately $683,850.12 U.S. Currency from Great Southern Bank

                        acct#...8246;

         (rr)           2014 Ford Taurus, VIN: 1FAHP2H83EG150757;

         (ss)           2016 Mercedes Sprinter Van, VIN: WD3PE7DD2GP292946;

         (tt)           Assorted Silver Coins, more particularly described as:

                   i.     Approximately 38 1956-1970 Silver Half Dollars,
                  ii.     Approximately 1 2003 American Silver Eagle,
                 iii.     Approximately 1 1922 Peace Silver Dollar,
                 iv.      Approximately 451 Kennedy Half Dollars,
                  v.      Approximately 43 Eisenhower Silver Dollars, and
                 vi.      Approximately 6 Susan B. Anthony Silver Dollars;

         (uu)           4,223 cartons of cigarettes;

         (vv)           Glock 17 9mm handgun, SN: XAV564;

         (ww)           Glock 17 9mm handgun, SN: LN028;

         (xx)           Derringer CB9 9mm handgun, SN2: CT166992;

         (yy)           North American Arms Magnum .22 handgun, SN: E314745;

         (zz)           Rossi 971 .357 revolver, SN: GN743267;

         (aaa)          Ruger Single Six .22 revolver, SN: 461454;

         (bbb)          Browning Hi-Power MKIIIS .9mm pistol, SN: 511ZW51000;

         (ccc)          Beretta 9mm pistol, SN: BER460524, including 9mm ammunition and

                        magazine;

         (ddd)          CZ 75 D Compact pistol, SN: B787042, including 9mm magazine;

         (eee)          Tavor SAR .223 rifle, SN: T0034719, including .223 ammunition;

         (fff)          Eotech gun sight, SN: A0949506 and Sightmark laser sight;
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         (ggg)   Beretta 9mm pistol, SN: K22828Z, including 9mm ammunition and magazine;

         (hhh)   Mosin Nagant rifle, SN: Unknown;

         (iii)   Ruger revolver, SN: 54152385,

         (jjj)   Bushmaster XM-15 rifle, SN: BK5205424, including .223 ammunition and

                 magazine;

         (kkk)   Ruger SR9 pistol, SN: 330-66739, including 9mm ammunition and magazine;

         (lll)   Rifle scope, SN: 5MM16629;

         (mmm) Steyr M9 9mm handgun, SN: 040956, including 9mm ammunition and

                 magazine;

         (nnn)   H&R revolver, SN: R16228;

         (ooo)   Springfield Armory handgun, SN: X5902467, including .380 ammunition and

                 magazine;

         (ppp)   Smith & Wesson pistol, SN: RBE2632, including .40 caliber ammunition and

                 magazine;

         (qqq)   Springfield Armory semi-automatic pistol, SN: Unknown, including 9mm

                 ammunition and magazine;

         (rrr)   Sig Sauer handgun, SN: AM161503, including all ammunition and magazines;

         (sss)   Glock handgun, SN: EBT187US, including all ammunition and magazines;

         (ttt)   Feg Hungary handgun, SN: R44735, including all ammunition and magazines;

         (uuu)   New England 12-gauge shotgun, SN: NY509895;

         (vvv)   Rock River rifle, SN: AV4025159;

         (www) Additional miscellaneous ammunition, attachments and magazines;
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         (xxx)    Hyosung 1500 ATM, Terminal ID# P181843;

         (yyy)    Hantle 1700 ATM, Terminal ID# P288811;

         (zzz)    Hantle 1700 ATM, Terminal ID# P235335;

         (aaaa) Hyosung 1500 ATM, Terminal ID# P205196;

         (bbbb) Hyosung 1520 ATM, Terminal ID #P297338;

         (cccc) Hyosung 1500 ATM, Terminal ID #P244872;

         (dddd) GenMega 2500 ATM, Terminal ID# P189178;

         (eeee) Tranax 1700 ATM, Terminal ID# P221894;

         (ffff)   Hyosung 1800 ATM, Terminal ID# P265004;

         (gggg) Tranax 1700W ATM, Terminal ID# P149717;

         (hhhh) Tranax 1700W ATM, Terminal ID# P149722;

         (iiii)   Hyosung Halo-II ATM, Terminal ID# P149718;

         (jjjj)   Tranax 1700W ATM, Terminal ID# P149724;

         (kkkk) Hyosung 2700T ATM, Terminal ID# P225185;

         (llll)   Tranax 1700W ATM, Terminal ID# P149715;

         (mmmm) Approximately 2 gold-colored bracelets;

         (nnnn) Approximately 2 gold-colored rings;

         (oooo) Gold colored necklace;

         (pppp) Rolex white face watch;

         (qqqq) Rolex black face watch;

         (rrrr)   Police badge;

         (ssss)   Club cards;
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            (tttt)   Sam’s Club membership card;

            (uuuu) Approximately 7 EBT cards;

            (vvvv) Approximately 5 pre-paid debit cards;

            (wwww) RJ Reynolds rebate check in the amount of $3,829.20; and

            (xxxx) RJ Reynolds rebate check in the amount of $12,266.40.

       3.        The United States has agreed to dismiss the criminal forfeiture proceedings against

the Real Property located at 3615 Bridgeton Valley Circle, Bridgeton, MO 63044, and a 2016

GMC Yukon XL, VIN: 1GKS2HKJ2GR255508.

       4.        Defendant agreed that the proffer of evidence supporting the guilty plea is sufficient

evidence to support forfeiture of the Subject Property.

       5.        Based upon the evidence set forth in the Guilty Plea Agreement and that was

presented at the Defendant’s plea hearing, the United States has established the required nexus

between the Subject Property and the offenses to which Defendant has pled guilty. Accordingly,

the Subject Property is subject to forfeiture to the United States pursuant to Title 18, United States

Code, Section 981(a)(1)(C) and Title 28, Untied States Code, Section 2461.

       6.        Pursuant to Rule 32.2(b)(6) and Title 21, United States Code, Section 853(n), upon

the issuance of a Preliminary Order of Forfeiture, the United States shall publish notice of the

Order and send direct notice to any person who reasonably appears to be a potential claimant with

standing to contest the forfeiture in the ancillary proceeding.

       7.        Upon adjudication of all third-party interests, this Court shall enter a Final Order of

Forfeiture pursuant to Rule 32.2(c) and Title 21, United States Code, Section 853(n), in which the

Subject Property will be ordered forfeited to the United States to be disposed of according to law.
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       8.      Pursuant to Rule 32.2(b)(4)(A) and Defendant’s Guilty Plea Agreement, the

Preliminary Order of Forfeiture becomes final as to Defendant upon entry. The Order remains

preliminary as to third parties until the ancillary proceeding is concluded under Rule 32.2(c).

       9.      Pursuant to Rule 32.2(b)(4)(B), the Court must include the forfeiture when orally

announcing the sentence or must otherwise ensure Defendant knows of the forfeiture at sentencing.

The Court must also include the forfeiture order, directly or by reference, in the judgment, but the

Court’s failure to do so may be corrected at any time under Rule 36.

       WHEREFORE, pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, the

United States respectfully requests that this Court determine that the Subject Property is subject to

forfeiture, and moves the Court to enter a Preliminary Order of Forfeiture forfeiting the above

described property, including the Subject Property. Pursuant to Rule 32.2(b)(3), the United States

also requests authority to conduct any discovery permitted by the Federal Rules of Civil Procedure

in order to identify, locate, or dispose of any property subject to forfeiture under this order,

including depositions, interrogatories, subpoenas, and requests for production. The United States

submits herewith its proposed Preliminary Order of Forfeiture.

         Dated: June 6, 2022                             Respectfully submitted,

                                                         SAYLER A. FLEMING
                                                         United States Attorney

                                                          /s/ Kyle T. Bateman
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